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 6                          UNITED STATES DISTRICT COURT
 7                         SOUTHERN DISTRICT OF CALIFORNIA
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 9   IN RE: PACKAGED SEAFOOD                        Case No.: 15-MD-2670 JLS (MDD)
10   PRODUCTS ANTITRUST LITIGATION
                                                    ORDER GRANTING IN PART
11                                                  JOINT MOTION TO MODIFY
                                                    BRIEFING SCHEDULE AND
12
                                                    SETTING BRIEFING SCHEDULE
13                                                  (ECF No. 1155)
14
15         Presently before the Court is Plaintiff The Cherokee Nation and Defendants StarKist
16   Co. and Dongwon Industries Co.’s Joint Motion to Modify the Motion to Dismiss Briefing
17   Schedule, (ECF No. 1155). The parties have stipulated to a briefing schedule for the
18   pending Motion to Dismiss, (ECF No. 983). The Court agrees that the briefing schedule
19   requires modification and GRANTS IN PART the Joint Motion, (ECF No. 1155). The
20   Court SETS the following briefing schedule. Plaintiff SHALL file its Opposition to the
21   Motion to Dismiss on or before July 9, 2018. Defendants SHALL file their Reply in
22   Support of the Motion on or before July 16, 2018.
23         IT IS SO ORDERED.
24   Dated: June 5, 2018
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                                                                           15-MD-2670 JLS (MDD)
